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                        EXHIBIT F
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                                          STOCK PURCHASE AGREEMENT

            THIS AGREEMENT is made and executed by and between Ramdhan Y                               Kotamarayja
   {the   “Buyer"), and Srihan Govindarajan and Manjula Dasyam (the "Scllers").
             WHERGAS, Selicrs              own   certain   outstanding  shares of   capital   stock of NOVEDEA
   SYSTEMS, INC. (the             “Company"),     a   Texas corporation;

          WHEREAS, Buyer desirc to purchase frorr: Sellers, and Sellers desire to sell to Buyer,
   such shares of outstanding capital stock of the Company, upon the terms and conditions
   hereinafter set forth.

             NOW, THEREFORE, the pasties hereto agree as follows:
                                                     ARTICLE I
                                                 PURCHASE AND SALE

   1.01 Purchase and Sale of Steck.    Upon the tenns and provisions of this Agreement, Buyer
   agree purchase
           to           accept delivery from Sellers of, and Sellers agree to sell, assign, transfer
                            and
   and deliver to Buyer, at the Closing provided for in paragraph 1.03 of this Agreement, the
   following shares        of stock of the       Company    set   forth below, frec and ¢lcar of all Jiens, claims,
   charges,     restrictions,   equities   or   encumbrances of any kind       (referred to herein as the "Subject
   Stock"}
         7500 Shares of Subject Stock (75% of the issued Authorized Carmmon Stock) valued at
   One Hundrec and Ninety Five Thousand Dollars and no/ 100

          Consideration: The purchase price consideration for the Subject Stock (the “Purchase
   Price’’} in the amount of Gne Hundred and Ninely Five Thousand Dollars and no/100
   ($195,006.00), shall be payable on or before the Closing Date. Buyer express their cousent to
   Sellers to withdraw the amount of $195K being agreed considcratian cither by payment to Sellers
   directly or to any third-party to whom they have any obligations ansing under this settlement
   agreement or for any other payment separately agreed by selfers to obtain their release and discharge
   of NGVEDEA         or   the Sellers.

   1.03 Transfer of Shares:          Upon the Closing, lnc 7500 Sharcs will be transferred to the Buyer.
   1.04 Closing. The closing of the purchase and sale of the Subject Stock (the "Closing") shall take
   place at 4835 LBJ FREEWAY, SUITE 750, Dallas, TX (or at such other place as the partics may
   mutually agree} on Feb 3        2012 (the "Closing Date"), The Closing Date may be postponed
   to 4 later time and date by mutual agreement of the pares. H the Closing is postponed, all
   teferenees to the Clasmg Date in this Agreement shall refer to the postponed date.




                                                         ARTICLE IT

   STOCK PURCHASE AGRELMENT                                                                        Page |
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                                   DOCUMENTS TO BE DELIVERED

   2.01 Documents to be Delivered        By Sellers to Buyer.   At the   Closing, Sellers will        deliver
   lo   Buyer:
            (a) stock certificates for the Subject Stock, Hee and clear of ail liens, claims, charges,
            restrictions, cquitics or encumbrances of any kind, which certificatcs shall be duly
            endorsed to Buyer or accompanied by duly executed stock powers in form satisfactory to
            Buyer;
            (b) such other certzficates and documents as Buyer or its counsel may reasonably request,
            such as corporate documents or resolutions pertaining to this transaction.

            (c)    Login and Password Information for online accounts held by the Company with
                  All
            various  companies, institutions and other yovermunental agencies (Exhibit
            excluding the bank accounts which are agreed to be closed by Buyer and Sellers,
   2.02 Documents to be Delivered         by Buyer to   Scllers. At the     Closing, Buyer will deliver to
   Sellers:

            (a) payment of the Consideration;

            {b} such other certificates and documents as Sellers or their counsc] may reasonably
            request, such as corporate documents or resolutions pertaining to this transaction.
                                                ARTICLE III
                              REPRESENTATIONS AND WARRANTIES

   3.01 Representations and Warranties        by Sellers. Sellers represent and warrants to Buyer as
   follows:

            (a) All of the shares of the Subject Stock have been duly authorized and validly issued
            and are fuily paid and non-assessable and none of them was issued in violation ofany
            preemptive or other ight. The Company is not a party to or bound by any contract,
            agrocment or arrangement to issue, sell or otherwise dispose of or redeem, purchase or
            otherwise acquire the Subjoct Stock, and, except for this Agrecment, there is no
            outstanding option, warraal or other        to subscribe for or purchase, or contract,
            agrcement or arrangement with respect to the Subject Stock.

            (b} Sellers own al] of the Subject Stock, free and clear of all liens, claims, charges,
            resitictions, cquitics and encumbrances ofany kind and has full authority, power and
            legal right to sell, assign. transter and deliver the same.
            {c) All negotiations relative to this Agreement and the transactions contemplated hereby
            have beer carried on   by Sellers dircetly with Buyer and without the intervention of any

   STOCK PURCLIASE AGREEMENT                                                                Page 2




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          other person and in such manner as not to give rise to any valid claim
                                                                                 against any of the
          parties tor any finder’s fee, brokcrage commission or like payment.
          (d) As per the Sellers knowledge below are the Company bank accounts existing at the
          time of closing:
          Bank of America with the account number 004886764621,
          Bank of America with the account number                  and
          First Financial Bank with the account number $t 110006326


    3.02 Representations and Warranties    by Buyer. Buyer represent and warrant to Sellers as
    Tailows:

          (@) Buyer have full authority, power and legal right to cnter into this Agreement and
          acquire the Subject Stock.
          (b) All negotiations relative to this Agreement and the transactions contemplated   hereby
          have been carrted on by Buyer directly with Sellers and without the intervention of
          other person and in such manner as not to give rise to any valid claim
                                                                                              any
                                                                                 against any of the
          parties for any finder’s fec, brokerage commission or like payment.
   3.03 Disclaimer of Warranties; "AS-IS"    Conveyance; Inspectien.
         (a) BUYER WARRANTS AND ACKNOWLEDGES TO AND AGREES WITH SELLER
         THAT BUYER JS PURCHASING THE ASSETS IN AN "AS IS" CONDITION "WITH
         ALL FAULTS" AND SPECIFICALLY AND EXPRESSLY WITHOUT ANY
         WARRANTIES, REPRESENTATIONS OR GUARANTEES, EITHER EXPRESS OR
         IMPLIED, OF ANY KIND. NATURE, OR TYPE WHATSOEVER FROM OR ON
         BEHALF OF THE SELLER. BUYER ACKNOWLEDGES THAT BUYER HAS NOT
         RELIED, AND IS NOT RELYING, UPON ANY INFORMATION, DOCUMENT,
         SALES BROCHURES OR OTHER LITERATURE, MAPS OR
                                                                 SKETCHES,
         PROJECTION, PROFORMA STATEMENT, REPRESENTATION, GUARANTEE OR
         WARRANTY (WHETHER EXPRESS OR IMPLIED, OR ORAL OR
                                                              WRITTEN, OR
         MATERTAL OR IMMATERIAL) THAT MAY HAVE BEEN GIVEN BY OR MADE BY
         OR ON BEHALF OF SELLER.

         (b) BUYER ACKNOWLEDGES TO AND AGREES WITH SELLER THAT WITH
         RESPECT TO THE ASSETS, SELLER HAS NOT, DOES NOT AND WILL NOT MAKE
         ANY WARRANTIES OR REPRESENTATIONS, EXPRESS OR
                                                               IMPLIED, OR
         ARISING BY OPERATION OF LAW, INCLUDING, BUT IN NO WAY LIMITED
         ANY WARRANTY OF CONDITION,                                     TO,
                                        MERCHANTABILITY, HABITABILITY OR
         FITNESS FOR A PARTICULAR USE, OR WITH RESPECT TO THE
         PROFITABILITY OR MARKETABILITY OF THE COMPANY.             VALUE,



   STOCK PURCHASE AGREEMENT
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                                            ARTICLE 1¥
                               BOOKS,   RECORDS AND INFORMATION

   4.01 Confidential Information. Buyer shall            reasonable cfforts to preserve and maintain
   all proprietary information and trade secrets of the Company teceived or confirmed in
   documentary form by Buyer and shall not disclose to any third person or use any such
                                                                    except that Buyer shall be free to
   proprictary information or trade secret for personal advantage, and
   use and disclose all or any of such proprietary information          trade scerets which (a) were
   already in Buyer’ possession at the time of disclosure to Buyer; (b) are aofmatterareof public
   knowledge; (c} have been or are hereafter    published
                                                        other than through Buyer,            lawfully
   obtained by Buyer from a third person without restrictions of confidentiality. The obligation of
   Buyer contained in this paragraph shall terminate at the Closing.
   4.02 Ne Unreasonable Interterence, Pending the Closing, Buyer will not take any action which
   could reasonably be expected to interfere unreasonably with the business or operations of the
   Company.
                                                ARTICLE ¥
                                                LIABILITIES

        Company Operation and Liabilities. Scllcrs shall manage the Company until             the date of
   Closing in its ordinary course of business by maintaining the Company accounts.               However,
   Sellers shall not incur any   new liabilities or accounts. In the event of any IRS related enquinies
   Sellers are willing to provide relevant information {o the best of Sellers’ ability and knowledge,
   At time of Closing, Buyer shall open a new Company Bank Account. After all of the checks
   written on the Company Bank Accounts have cleared, Sellers shall close the Company Bank
   Accounts located al Bank of America with the account number 004886764621, Bank of America
   with the account number 488015879246, and First Financial Bank with the account number
   91110006326 at a rcasonabie time following the date of Closing not to exceed fouricen (14) days
   and Sellers shall retain personal property which is specifically identificd as follows:

                 The personal computer in Srihari Govindarajan’s office.
                 All personal property in Srihari Govindarajan’s office.

                                             ARTICLE ¥I
                                       RESTRICTIVE COVENANTS

    6.01. Covenant Not to Compete. Scller agrecs that for a period starting at the Closing Date
    and ending on Feb 16", 2013, Seller shall not, directly or indirectly, carry on or engage in any
    activity similar in nature to or competing with Company or any variation of Company with only
    the   following:
             Viverae lnc   10670 N. Central Expressway, Suite 700, Dallas. Texas 75231
                           -




             Expressor   Software Corporation    | New England Executive Park, Burlington, MA
                                                 -




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    6.02.    Covenant Not te Solicit. For   a   period of 1% months after the Closing   Date, Scller shall

    STOCK    PUIRCIIASE AGREEMENT                                                         Page   4
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     notsolicit any employee (attached herein as “Exhibit      of Company or another company
    controlled by Buycr or his representatives retained by Buyer afier the
                                                                           Closing Date to leave
    employment with Company or another company controlled by Buyer or his representatives, The
    provisioas of this paragraph shall be construed as an agreement independent of any other
    provision contained herein and shali be enforceable in both law and equity, including by
    temporary restraining orders, temporary injunction, permanent injunction or any other like
    action.


                                                  ARTICLE
                                              INDEMNIFICATION
              Indemnification  by Buyer. From and after the Closing, and subject to the terms and
    conditions of this   Agrcement, Buycr will reimburse, indemnify and hold harmless Seller against and
    in   respect of:
              (a) Any and al? liabilities andobligations of any nature whatsoever or Telating to Buyer or
              the Assets that resulc from, relate toor arise out of Buyer's
                                                                            ownership of the Assets or the
              operation of Buycr's business at the Company after the C losing;
                                              ARTICLE VIE
                                            OTHER PROVISIONS

   8.01 Survival of Representations and Warranties. Ail stalements contained in
    orother instrument delivered by or on behalf of Scilers or
                                                                                      any certificate
   shall be deemed representations and warranties hereunder
                                                                Buyer  pursuant  to this Agreement

   of instrument. Al!
                                                            by the party delivering such certificate
                      represenlations, warranties and agrcements made by Scllers or Buyer in this
   Agreement or pursuant hereto shall survive the Closing.
   8.02 Assurance of Further Action, From time to time afier the
                                                                           Closing and without further
   consideration from    Buycr, but at Buyer' expense, Sellers shall execute and deliver, or cause 10 be
   executed and delivered, to Buyer such further instruments of sale,
   delivery and take such other action as Buyer nlay reasonably request in assignment,
                                                                                           transfer and
                                                                              order to more
   sell, assign, transfer and deliver and reduce to the possession of Buyer any and all of theeffectively
   Stock and consummate the transactions contemplated                                           Subject
                                                           hereby.
   8.04 Waiver. The parties hereto may by wmitten agreement
                                                                {i) extend the time for or waive or
   modity the performance of ary of the obligations or other acts of the partics hereto or (11) waive
   any inaccuracies in the representations and warranties contained in this Agreement or in
   document delivered pursuant to this Agreement,                                                 arty

   4.05 Entire Agreement. This Agreement embodies the entire
                                                                     agreement among the parties and
   there have becn and are no ayreements, representations or
                                                                 warranties, oral or written among the
   parties other than those set forth or provided for in this Agtcement. Buyer hereby acknowledges
   that he has not relied on any of the warranties or representations of either of the
                                                                                          Sellers. This
   Agreement may not be modified or changed, io whole or in part, except by a supplemental
   agreement stgned by cach of the parties,


  STOCK PURCHASE AGREEMENT
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                         8.06 Rights Under this Agreement; Nonassignability. ‘his Agreement shall bind and inure to
                         the benefit of the parties hereto and their respective successors and assigns, but shall not be
                         assignable by any party without the prior written consent of the other parties, Nothing contained
                         m this Agreement is intended to confer upon any person, other than the partics to this Agreement
                         and their respective successors and assigns, any rights, remedies, obligations or liabilities under
                         or by reason of this Agreement.


                         8.07   Governing  Jaw, This Agreement shall be governed by and constmed in accordance with
                         the laws of the State of Texas applicable to agrecments made and to be performed in the State of
                         Texas and shail be construcd without         regard
                                                                          to any presumption or other rule requiring the
                                      of
                         construction an agreement       against
                                                               the party causing it to be drafted.

                         8.08 Headings. The headings of the articles and paragraphs and subparagraphs of this
                         Agreement arc solely for convenience and reference and shall not limit or otherwise affect the
                         meaning of any of the terms or provisions of this Agreement,
                         $.09   Counterparts. This Agreement may be cxecuted in any number of counterparts, each of
                         which shali bean orginal, but which together constitute one and the same instrument.


                                 EXECUTED in        one or more    counterparts, each of which shall   be deemed   an   original,   on
                         February,   2011.



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                                         EXHIBIT B


                               LIST OF EMPLOYEE/CONTRACTORS

Employees:
1. Ananda Dasari

     Anila   Nuthalapati
in




3. Janithri    Mudalige
4, Kiran Nakka

5. Lalit Sharma

6, Sindhu YVeermani

7, Srikanth Gona

8. Subba Rao Kambata

9, Subhashini     Prattipati
10. Usha Banavar

11.   Christapher Palaparthi
12. Krishna     Katamaraja



Contractors:

1, Likhita Anne

2. Kishan Golla




                                                                     KATAMARAJA000040
